        Case 1:21-cr-00003-RCL Document 49 Filed 06/16/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     : CASE NO. 21-CR-003 (RCL)
                                              :
JACOB ANTHONY CHANSLEY,                       :
     Defendant.                               :


                                   STATUS UPDATE

       The government now submits this status update, pursuant to this Court’s Order. ECF No.

39. Since the last status update, the defendant has departed the D.C. area, and as of June 10,

2021, is being housed at FCI Englewood, in Littleton, CO. He will undergo his competency

evaluation at FCI Englewood.


                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     ACTING UNITED STATES
                                     ATTORNEY


                                        /s/
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